   Case 2:23-cv-01839-DJP-EJD     Document 157    Filed 03/26/25   Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

THE STATE OF LOUISIANA, et al.,

              Plaintiffs,                         CIVIL ACTION NO.
                                                    2:23-CV-01839
       v.
                                             JUDGE DARREL PAPILLION
DEPARTMENT OF HOMELAND
SECURITY, et al.,                            MAGISTRATE JUDGE EVA J.
                                                    DOSSIER
              Defendants.


                                    ORDER

      Considering the State of Louisiana’s Motion to Withdraw Kathleen S. Lane

as counsel (R. Doc. 155),

      IT IS ORDERED that the motion is GRANTED, and Kathleen S. Lane is

hereby WITHDRAWN as counsel for the State of Louisiana in the above-captioned

matter.

      New Orleans, Louisiana, this 26th day of March 2025.



                                           __________________________________
                                              DARREL JAMES PAPILLION
                                               United States District Judge




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